                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

BYRON WHITE (#B53533),                            )
                                                  )
               Plaintiff,                         )
                                                  )          No. 16 C 7120
       v.                                         )
                                                  )          Judge Sara L. Ellis
COOK COUNTY, et al.,                              )
                                                  )
               Defendants.                        )

                                             ORDER

       Plaintiff’s motion for sanctions [65] is denied without prejudice. Defense counsel shall
review the in-court transcript from September 6, 2017, and before the close of discovery on
January 30, 2018, provide documents to Plaintiff in compliance with the Court’s instructions.
The Clerk of Court is directed to send a copy of this Order to counsel of record and to Plaintiff at
East Moline Correctional Center. See Doc. 66.


Date: January 26, 2018                                /s/ Sara L. Ellis________________
